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r'iz...t.;.r:_) __- :

lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

 

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WESTERN DrvrsroN "*‘b ~‘L#N 22 PM 3: 35
UNITED sTATEs oF AMERICA - f 4 trespass
V.
JAMES goss 05¢r20194-B
0R1)ER oN ARRAIGNMENT

 

 

This cause came to be heard o Z'.?_,, Z,O/)S` the United tates Attorney
for this district appeared on behalf of th overnment, and the defendant appeared in pe son and with

counsel:

NAMEZ L; f %M/HMM&L 547 .'/j;, &M Who is Retained/Appointed.

¢¢"___'-____

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, Who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA 0f1984), is remanded to the custody

of the U.S. Marshal. _______________, Y
K/"/\ . __O¢ ~h _
UNITED STATES MAGISTRATE ]UDGE

CHARGES - 18:1029(a)(2); PRODUCES/TRAFFICS IN
COUNTERFEIT DEVICE

Attorney assigned to Case: C. McMullen

Age: 51

 

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number l2 in
case 2:05-CR-20194 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

J. Patten BroWn

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Honorable J. Breen
US DISTRICT COURT

